Case 3:21.-0v-00872-MCRHTC Document 1 Filed 06/24/21 Page 1 of 9

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA

CIVIL RIGHTS COMPLAINT FORM FOR
PRO SE (NON-PRISONER) LITIGANTS IN ACTIONS UNDER
28 U.S.C. § 1331 or § 1346 or 42 U.S.C. § 1983

 

 

 

 

(Write the full name of each Plaintiff

filing this complaint. If there is

insufficient space to list the names of Case No.: 32 91C VA $72- Nck-HTR
all Plaintiffs, please write “see (To be filled in by the Clerk’s Office)
attached” in the space above and

attach an additional page with a full

list of names.)

v.
Jury Trial Requested?

(Write the full name of each Defendant oO YES oNO
who is being sued in this complaint. If

there is insufficient space to list the

names of all Defendants, please write

“see attached” in the space above and

attach an additional page with a full

list of names.)

law SuSiy WU Panicalan
00 \/ leg Poradenty ~SUNCe
19 S57

NDFL Pro Se 15 (Rev. 12/16) Civil Rights Complaint Non-Prisoner 1
ClerkAdmin/Official/Forms

 

 

 
Case 3:21-cv-00872-MCR-HTC Document1 Filed 06/24/21 Page 2 of 9

I. PARTIES TO THIS COMPLAINT
A. Plaintiff(s)
1. Plaintiff's Name: (! Peven Nlewry
Address: L Zz? Basten Sheet, Salenez
City, State, and Zip Code: OF 6)

Telephone: MVON@ (Home) — (Cell)
2. Plaintiff's Name: even 430421)

a

 

 

Address:

 

 

City, State, and Zip Code:

 

Telephone: (Home) (Cell)
(Provide this information for any additional Plaintiffs in this case by
attaching additional pages, as needed.)
B. Defendant(s)
State the name of the Defendant, whether an individual, government agency,
organization, or corporation. For individual Defendants, identify the
person’s official position or job title, and mailing address. Indicate the

capacity in which the Defendant is being sued. Do this for every Defendant:

NDFL Pro Se 15 (Rev. 12/16) Civil Rights Complaint Non-Prisoner 2
ClerkAdmin/Official/Forms
Case 3:21-cv-00872-MCR-HTC Document1 Filed 06/24/21 Page 3 of 9

  

1. Defendant's Name:

Official Position: Pranideet
Employed at: ( { ) Sr ote phasing
Mailing Address: (_ Jude bhoss Uauhuslan De,

 

 

#Sued in Individual Capacity fast, aSued in Official Capacity

2. Defendant's Name:

 

Official Position:

 

Employed at:

 

Mailing Address:

 

 

O Sued in Individual Capacity G Sued in Official Capacity
(Provide this information for all additional Defendants in this case by

attaching additional pages, as needed.)

Il. BASIS FOR JURISDICTION
Under 42 U.S.C. § 1983, you may sue state or local officials for the
“deprivation of any rights, privileges, or immunities secured by the
Constitution” and federal law. Under Bivens v. Six Unknown Named Agents
of Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal
officials for the violation of certain Constitutional rights.

NDFL Pro Se 15 (Rev. 12/16) Civil Rights Complaint Non-Prisoner 3
ClerkAdmin/Official/Forms
Case 3:21-cv-00872-MCR-HTC Document1 Filed 06/24/21 Page 4 of 9

Are you bringing suit against (check all that apply):

Oo Federal Officials (Bivens case) O State/Local Officials (§ 1983 case)

Iii. STATEMENT OF FACTS
Provide a short and plain statement of the facts which show why you are
entitled to relief. Describe how each Defendant was involved and what each
person did, or did not do, in support of your claim. Identify when and where
the events took place, and state how each Defendant caused you harm or
violated federal law. Write each statement in short numbered paragraphs,
limited as far as practicable to a single event or incident. Do not make legal
argument, quote cases, cite to statutes, or reference a memorandum. You
may make copies of the following page if necessary to supply all of the facts.
Barring extraordinary circumstances, no more than five (5) additional pages
should be attached. Facts not related to this same incident or issue must be
addressed in a separate civil rights complaint.
Donald Fa uu, |
Sihae /9E4, Lan 0 pad - gestin omy
Toes Saauuty WWlowasy Ts an s_ae

 
   

 
 

} i 9
NDFL Pro Se 15 (Rev. 12/16) Civil Rights Complaint Non-Prisoner 6 c | Peraclect fal Paldome
ClerkAdmin/Official/Forms [74
« He . 0 Sec Td Fa soclnT es while fteude PY Paes.)
oo

(MWK my bife (Cati Posenthe, tr460O bs. aohlated Ay NPew Tr
Case 3:21-cv-00872-MCR-HTC Document1 Filed 06/24/21 Page 5 of 9

Factual Allegations, Continued (Page _ of )

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NDFL Pro Se 15 (Rev. 12/16) Civil Rights Complaint Non-Prisoner
ClerkAdmin/Official/Forms
Case 3:21-cv-00872-MCR-HTC Document1 Filed 06/24/21 Page 6 of 9

IV. STATEMENT OF CLAIMS
State what rights under the Constitution, laws, or treaties of the United
States have been violated. Be specific. If more than one claim is asserted,
number each separate claim and relate it to the facts alleged in Section III. If
more than one Defendant is named, indicate which claim is presented

against which Defendant.

YW Saeud, Peewdly Rebs fos Boer
Walel&e) »

 

 

 

V. RELIEF REQUESTED
State briefly what relief you seek from the Court. Do not make legal
arguments or cite to cases/ statutes. If requesting money damages (either

actual or punitive damages), include the amount sought, explaining the basis

wl sant muy dull Chan.
fants | eueuy cman |

for the claims.

 

 

NDFL Pro Se 15 (Rev. 12/16) Civil Rights Complaint Non-Prisoner 6
ClerkAdmin/Official/Forms
Case 3:21-cv-00872-MCR-HTC Document1 Filed 06/24/21 Page 7 of 9

VI. CERTIFICATION
As required by Federal Rule of Civil Procedure 11, I certify by signing
below that to the best of my knowledge, information, and belief, this
complaint: (1) is not being presented for an improper purpose, such as to
harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a non-frivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions
have evidentiary support or, will likely have evidentiary support after a
reasonable opportunity for further investigation or discovery; and (4) the

complaint otherwise complies with the requirements of Rule 11.

I agree to timely notify the Clerk’s Office if there is any change to my
mailing address. I understand that my failure to keep a current address on

file with the Clerk’s Office may result in the dismissal of my case.

Date: Mi Plaintiff's Signature: bayer? [Vesadte]
Selwe £9 peavey ZL |

Printed Name of Plaintift, Cle fe Vase (VaaRe@R
Address: /79 Paulos BUF. Salar, Wlasttitines
30 cade O/970

E-Mail Address:

 

 

NDFL Pro Se 15 (Rev. 12/16) Civil Rights Complaint Non-Prisoner 7
ClerkAdmin/Official/Forms
Case 3:21-cv-00872-MCR-HTC Document1 Filed 06/24/21 Page 8 of 9

Telephone Number: U-e We

(Additional signature page(s) must be attached if there is more than one

Plaintiff.)

NDFL Pro Se 15 (Rev. 12/16) Civil Rights Complaint Non-Prisoner
ClerkAdmin/Official/F orms
 

rc

YAGY &

ae)

 

 

 

 

RT AP et, NI HENNE MIEN

awn

 
